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                                EXHIBIT A
                              Lisa P. Kestler, PhD
                               Curriculum Vitae
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Lisa P. Kestler, PhD
601 Ewing St., Suite C-9 ▪ Princeton, NJ 08540                        (732) 642-4897 ▪ Lisa.kestler@gmail.com
New Jersey License #35SI00541500                                https://therapists.psychologytoday.com/259334

Clinical psychologist in private practice                                                   9/2015 – present

    My practice specializes in individual and family therapy for depression, anxiety, and child behavior
    problems. My approach to therapy combines treatment modalities based on cognitive-behavioral and family
    systems theories. With younger children I integrate play therapy with family behavioral therapy.
    I also offer comprehensive assessment for ADHD, learning disabilities, giftedness, and neuropsychological
    problems. My approach to assessment is based on understanding the whole person and the role of the
    presenting problem in relation to the person’s history, current environment, and personality structure. I
    integrate cognitive and personality test results with knowledge about the person’s medical and
    developmental history, genetic/family history, school/occupational functioning, and relational functioning.
    I have expert knowledge of ADHD, dyslexia, giftedness, child behavior problems, enueresis/encopresis,
    school anxiety, depression, body focused repetitive behavior disorders (trichotillomania, skin picking), needle
    phobia, other mood and anxiety disorders, and medically-related psychiatric syndromes (PANDAS, etc).
The Dyslexia Center of Princeton                                                            11/2014 – present
    As a consultant to the Dyslexia Center of Princeton, I conduct psychoeducational evaluations for learning
    disabilities. I also consult with families and schools regarding educational and behavioral recommendations.
Clinical Trials Services                                                                    7/2010 – present
    As a Senior Clinician at MedAvante, Inc., I provided clinical support for a leading global clinical data
    services company. My primary role involved the administration of psychiatric and neurocognitive assessments
    to clinical trial subjects with a wide range of DSM-IV/DSM-5 disorders: mood, psychosis, anxiety, dementia,
    and substance use. Drawing on my prior experience in the pharmaceutical industry, I continue to work part-
    time as an Independent Consultant for several companies.
The Gifted Child Clinic                                                                    9/2005 – 6/2010
Institute for the Study of Child Development, Robert Wood Johnson Medical School, New Brunswick, NJ
    As a Post-Doctoral Clinician and Researcher, I conducted psychoeducational evaluations, including tests of
    intelligence (Wechsler Scales and the Stanford-Binet), achievement, memory, attention, and other
    neuropsychological functions. I provided psychotherapy to children and families to address issues related to
    academic difficulties, behavioral or emotional problems, ADHD, anxiety, and mood disorders. I also acted as
    a consulting psychologist to the Cancer Institute of New Jersey.
    After completing my post-doctoral fellowship, I continued at ISCD as an Assistant Professor. As a Principal
    Investigator, I co-directed an R01 NIH grant that was awarded $5M to study the effects of prenatal drug
    exposure on child development. I co-edited book, Gender Differences in Prenatal Substance Exposure,
    published by the APA. I was also Principal Investigator of a hospital-funded research study on the effects of
    Child Life Specialist intervention on children’s stress response in the Pediatric ED of Robert Wood Johnson
    University Hospital.
Jersey Shore University Medical Center, Neptune, New Jersey                                     9/2004 – 8/2005
    As a Pre-Doctoral Intern, I completed an APA-approved internship in clinical psychology in a community
    mental health center. I provided psychological services for inpatient, partial hospitalization, Emergency
    Department, and outpatient treatment. Patients of all ages presented with a wide range of psychological
    problems. I also administered psychological and neuropsychological measures to children and adults.
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                                                                                                      Lisa Kestler, PhD

Emory University, Department of Psychology, Atlanta, Georgia                                     9/1998 – 8/2004
    In my graduate training, I worked as a Graduate Research Assistant. In addition to my dissertation research
    on peripartum depression and infant stress response, I examined various aspects of developmental
    psychopathology through my involvement in numerous other research studies. Also, as a research clinician, I
    assisted with various treatment outcome studies, including longitudinal studies of at-risk adolescents, and
    Cognitive Behavioral Therapy (CBT) for anxiety.
    I completed clinical training practicum and served as a Psychology Extern and Intake Coordinator. I
    conducted individual, couples, group and family psychotherapy in an outpatient community clinic with
    children, adolescent, adult, and geriatric patients. I conducted psychological evaluations for diagnosis of
    specific learning disabilities and ADHD. I also administered full neuropsychological test batteries to children
    and adults presenting with a wide range of neuropsychological problems.
    As a graduate student, I also worked as a Graduate Teaching Assistant. I taught undergraduate and
    graduate psychology courses. I also trained graduate psychology students to administer psychiatric
    interviews.
National Institute of Mental Health (NIMH), National Institutes of Health (NIH)        9/1996 – 9/1998
Bethesda, Maryland
    Prior to graduate school, I received a Pre-Doctoral Research Fellowship at the NIH. I coordinated and
    supported clinical trials involving patients with schizophrenia or other psychotic disorders. I assisted with
    research in pharmacogenetics and neuroimaging (fMRI and PET), which led to co-authorship on 6 peer-
    reviewed journal articles and 3 conference presentations.
EDUCATION
Emory University                PhD, Clinical Psychology            2000-2005
    Atlanta, Georgia            MA, Clinical Psychology             1998-2000
Princeton University            AB, Psychology                      1992-1996
    Princeton, New Jersey

PUBLICATIONS AND PRESENTATIONS: Full list available upon request. Includes one co-edited book, author or co-
author on 6 book chapters, 12 peer-reviewed journal articles, and 24 conference presentations/posters.
Kestler L, Bennett D, Carmody D, Lewis M. Gender dependent effects of prenatal cocaine exposure. In: Lewis M,
Kestler L, eds. Gender Differences in Prenatal Substance Exposure. Washington, D.C.: APA Books; 2012: 11-29.
Kestler L, Mittal VA, Walker E. Schizophrenia. In: Maddux JE, Winstead BA, eds. Psychopathology: Foundations
for a Contemporary Understanding. 3rd ed. Mahwah, NJ, US: Lawrence Erlbaum Associates, Publishers; 2012:
247-276.
Kestler LP, Lewis M. Cortisol response to inoculation in 4-year-old children. Psychoneuroendocrinology. 2009; 34,
743-751.
Kestler LP, Walker E, Vega EM. Dopamine receptors in the brains of schizophrenia patients: A meta-analysis of
the findings. Behav Pharmacol. 2001; 12(5), 355-371.
Kestler LP, Malhotra AK, Finch C, Adler C, Breier A. The relationship between dopamine D-2 receptor density
and personality. Neuropsychiatry Neuropsychol Behav Neurol. 2000; 13, 48-52.




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